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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )             Case No. 8:05CR175
                                                )
                        Plaintiff,              )
                                                )
         v.                                     )                      ORDER
                                                )
KEVIN PERSON,                                   )
                                                )
                        Defendant.              )


         Before the court are defendant's Motion to Continue (Filing No. 21) and Motion for Leave to
Excuse Speedy Trial Waiver (Filing No. 23). The court will grant the defendant's motions with the
understanding that, due to the defendant residing in Tennessee, the Speedy Trial Waiver will be
filed as soon as practical.
         THEREFORE, IT IS ORDERED that this case is scheduled for a change of plea before the
undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th
Plaza, Omaha, Nebraska, on July 28, 2005, at 2:30 p.m. Since this is a criminal case, the
defendant shall be present, unless excused by the court. If an interpreter is required, one must be
requested by the plaintiff in writing five (5) days in advance of the scheduled hearing.
         The ends of justice will be served by granting the defendant's request for a continuance in
order to complete plea agreement negotiations, and outweigh the interests of the public and the
defendant in a speedy trial. The additional time arising from the date of trial to the date of the
scheduled change of plea hearing, namely, June 27, 2005, through July 28, 2005, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act,
for the reason that defendant's counsel requires additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this case, and
the failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A)
& (B).
         DATED this 24th day of June, 2005.
                                                BY THE COURT:




                                                s/ Joseph F. Bataillon
                                                JOSEPH F. BATAILLON
                                                United States District Judge
